 1                                                          Chief Judge Marc Barreca
                                                                           Chapter 11
 2                                        Hearing: October 22, 2020, 2020 @ 9:30 a.m.
                                                    Response Date: October 15, 2020
 3                                                                      TELEPHONIC

 4
                     IN THE UNITED STATES BANKRUPTCY COURT
 5             FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 6    In re:                                      No. 18-14536-MLB

 7    TIMOTHY DONALD EYMAN,                       MOTION TO SELL DEBTOR’S
                                                  INTEREST IN MARITAL HOME,
 8                          Debtor.               DECLARATION OF TIMOTHY EYMAN,
                                                  and NOTICE OF HEARING AND
 9                                                PROOF OF SERVICE

10                    NOTICE OF HEARING and PROOF OF SERVICE

11             PLEASE TAKE NOTICE that an issue of law in this case will be heard on

12 the date below and the clerk is directed to note this issue on the appropriate

13 calendar.

14         Calendar Date and Time: Thursday, October 22, 2020, at 9:30 AM
                          Response Date: October 15, 2020
15
               The hearing is scheduled to take place telephonically due to COVID-19
16
     precautions:
17
     Instructions
18
   (1) Dial: 1-888-363-4749. For hearings held at the hour, please call in 10 minutes
19 before the hour to avoid AT&T conference call congestion.
   (2) Enter Access Code: 9365479#
20 (3) Press the # sign
   (4) Enter Security Code when prompted: 8574#
21 (5) Speak your name when prompted

22

23
       Motion to Sell Debtor’s             Page 1 of 7                VORTMAN & FEINSTEIN
24                                                                  2033 6TH AVENUE, SUITE 251
       Interest in Marital Home
                                                                        SEATTLE, WA 98121
                                                                           (206) 223-9595
                                                                        (206) 386-5355 (fax)


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 1 Guidelines

 2 (1) Use a land line phone and not a cell phone, if possible. Do not use a speaker
   phone and do not use “hands-free” if using a cell phone.
 3 (2) Make the call from a quiet area where background noise is minimal.
   (3) Mute your phone until the judge calls your case before speaking. (press “*6” to
 4 mute or unmute.)
   (4) Do not put the phone on hold at any time after the call is connected.
 5 (5) In the event you are unable to connect to the conference call after following the
   above procedures, please contact chambers at (206) 370-5310.
 6

 7          If no responses are filed by the Response Date, the court may enter an

 8 order granting the requested relief without further notice or conducting the hearing

 9 set forth above. Copies of this Motion and the Proposed Order have been mailed

10 on this date to all parties on the attached mailing matrix.

11          DATED this 1st day of October, 2020.

12                                            /s/ Larry B. Feinstein
                                              Larry B. Feinstein WSBA # 6074
13                                            Attorney for Debtor

14
                                          MOTION
15
            COMES NOW Vortman & Feinstein, attorneys for the Debtor, Timothy
16
     Eyman, and apply to the Court for an order authorizing the sale/transfer of the
17
     Debtor’s marital interest in the Real Property located at 11913 59th Avenue West,
18
     Mukilteo, Snohomish Co., Washington, to his spouse Karen Eyman, for the
19
     purchase price of $372,500.00, under Section 363 of the Bankruptcy Code, free
20
     and clear of all liens, encumbrances, and claims of the estate.
21
            A Petition for Dissolution of the marriage of Timothy and Karen Eyman was
22
     filed on May 3, 2019. Timothy and Karen Eyman were married on December 31,
23
       Motion to Sell Debtor’s            Page 2 of 7                VORTMAN & FEINSTEIN
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                                                                          (206) 223-9595
                                                                       (206) 386-5355 (fax)


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 1 1993. At the time of their marriage, Karen Eyman (along with her parents, Orlo and

 2 Gloria Williams) owned a home in the Greenlake area of Seattle, King County, into

 3 which Tim Eyman moved. On August 1, 1996, the home was quit claimed to “Karen

 4 Joan Eyman and Timothy Donald Eyman, Wife and Husband” to clear title only.

 5 Because the Seattle home was purchased with the separate property of Mrs.

 6 Eyman, upon agreement of the parties, the Seattle home was construed to be the

 7 separate property of Mrs. Eyman even after the filing of the Quit Claim Deed.

 8 Equity in the property was the direct result of Mrs. Eyman’s down payment and her

 9 efforts to pay off the mortgage. Even though the home was considered by the

10 parties to be her separate property, because the mortgage was paid from a joint

11 bank account into which both Mr. and Mrs. Eyman’s income was deposited, Mr.

12 Eyman acquired a community property lien on the Seattle home for his

13 proportionate share of the mortgage payments made after August 1, 1996.

14         On August 19, 1998, they sold Mrs. Eyman’s home in Seattle and

15 purchased their current family home in Mukilteo, Snohomish County.

16 Approximately $290,000 of the proceeds of the sale of the Seattle home was used

17 as the down payment, which represented the equity in the home at the time of the

18 sale and was the separate property of Mrs. Eyman. Though they did have a

19 mortgage on the Mukilteo home, it was paid off in 2017.

20         When Mr. Eyman filed his bankruptcy on November 28, 2018 (ECF #1), his

21 separate property and all community property became property of the bankruptcy

22 estate. Mrs. Eyman is a potential creditor of the estate, having 50% ownership of

23
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 1 all estate property, plus a claim for her separate property contribution of the equity

 2 in her Seattle home.

 3         Mr. and Mrs. Eyman began living separate and apart when Mr. Eyman

 4 moved out of the marital home on December 29th and 30th, 2018. Prior to the filing

 5 of his bankruptcy, Mr. and Mrs. Eyman consulted attorney Stephen Pidgeon

 6 regarding the dissolution of the marriage.

 7         In furtherance of the resolution of the dissolution proceedings, Ms. Eyman

 8 has offered to purchase the estate’s community interest and Mr. Eyman’s separate

 9 property interest, if any, in the home and the home would then be titled into her

10 name free and clear of liens, encumbrances, and of the bankruptcy estate. Ms.

11 Eyman retained Windermere Realty Co. to appraise the home, and the appraiser

12 valued the home for between $939,000 and $970,000. See attached Exhibit B.

13 Ms. Eyman believes that value to be slightly in excess of the actual salable market

14 value of the home, and the home was valued during the bankruptcy and prior to

15 confirmation of the Plan at $900,000.00. Ms. Eyman has resided in the home,

16 maintained the home, and has paid all utilities and other expenses for the home

17 [before and] since that time. Ms. Eyman has placed a current fair market value on

18 the home at $875,000, considering that the home would not have to be marketed

19 during the fall and winter (the slowest time of the year for home sales, and in the

20 middle of a pandemic), and it would be valued at 97% of the value the bankruptcy

21 estate has ascribed to the home.

22         Based on the liquidation analysis [Exhibit E to the Debtor’s Disclosure

23
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 1 Statement (ECF #210)] of the assets of the estate, it was determined that the net

 2 liquidation value of the home, after deducting (a) the homestead exemption which

 3 was claimed and allowed, (b) the costs of sale and trustee’s fees that would be

 4 incurred if the home was sold in a hypothetical Chapter 7 liquidation, and (c) Ms.

 5 Eyman’s separate property interest in the home from her separate property down

 6 payment on the home (stated above), would have a net community value of

 7 $345,307.00, based on the gross sales price of $875,000. Ms. Eyman has offered

 8 to purchase the estate’s interest in the home and the separate property interest of

 9 Mr. Eyman, if any, for the cash sale price of $372,500.00, a premium of about

10 $27,000, or an effective gross sales price of $902,000, being in line of the value

11 placed on the home in the Debtor’s disclosure statement and plan.

12              The Debtor will then, from the proceeds of sale, pay directly from closing

13 all of the allowed post-petition allowed administrative costs of the Chapter 11,

14 which costs are now on various payment plans with the holders of those allowed

15 claims. For instance, the administrative claims of the State of Washington are

16 being paid at $10,000 per month until paid in full1; the allowed claims of Mr.

17 Feinstein are being paid at about $1,000 per month on an allowed claim of about

18 $13,500, and the allowed claims of Special Counsel of Richard Sanders & Seth

19 Goldstein of $42,500 are being paid similar to Mr. Feinstein. Thus, all allowed

20

21   1
      There are currently pending hearings in the State court proceedings to determine and finalize the sanctions
     and contempt fines assessed against the Debtor. The Debtor was deemed in compliance with the discovery
     orders as of May 16, 2020, and thus there are currently motions to now finalize the total allowed sanctions
22   claims. The Debtor has requested a significant reduction of those fines and a hearing is set for early October
     on that request.

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24                                                                                  2033 6TH AVENUE, SUITE 251
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                                                                                        (206) 386-5355 (fax)


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 1 post-petition allowed administrative claims will be paid in full on closing. The

 2 Debtor will use the balance of the funds for ongoing Plan payments and ongoing

 3 living expenses over the term of the Plan. Since the Plan contemplated the sale

 4 of the home, and the sale is in furtherance of the dissolution of the parties and

 5 between spouses, there would be no real estate excise taxes due upon the sale.

 6         The sale is a fair settlement and compromise of the claims of Ms. Eyman

 7 against the estate and her interest in the home, and as part of the community

 8 property settlement that is or will be contained in the dissolution pending in

 9 Superior Court. Ms. Eyman is not making a claim for any portion of the community

10 property value of the home and the entire net community property value is being

11 paid to the estate. This is a fair compromise with her that should be approved by

12 the court. In § 363(b) sale motions, the bankruptcy court’s obligation “is to assure

13 that optimal value is realized by the estate under the circumstances.” Simantob v.

14 Claims Prosecutor, LLC (In re Lahijani), 325 B.R. 282, 288 (9th Cir. BAP 2005). In

15 the context of a resolution in a divorce proceedings and that the spouse is paying

16 the estate essentially the full market value of the estate’s interest in the property,

17 the purchase price is certainly the optimal value of the property under these

18 circumstances. The Code only requires “fair value” and that the sale be in good

19 faith. See Adeli v Barclay, 834 F.3d 1036, 1041 (9th Cir. 2016), Cmty. Thrift & Loan

20 v Suchy, 786 F.2d 900, 902 (9th Cir. 1985).

21         Accordingly, the Debtor requests that the attached Exhibit 1, Purchase and

22 Sale Agreement dated August 19, 2020, be approved under Section 363 and

23
      Motion to Sell Debtor’s            Page 6 of 7                VORTMAN & FEINSTEIN
24                                                                2033 6TH AVENUE, SUITE 251
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 1 Section 1129 of the Bankruptcy Code free and clear of liens, encumbrances and

 2 claims of the estate.

 3         Certificate of Service: This Motion, Exhibits, and proposed order was duly

 4 served or mailed 1st class, postage prepaid, on the parties in interest via the Court’s

 5 CM/ECF noticing or by mail if not on said court mailing, on this date below.

 6         DATED this 1st day of October, 2020.

 7                                             /s/ Larry Feinstein
                                               Larry B. Feinstein WSBA # 6074
 8                                             Attorney for Debtor

 9

10                          DECLARATION OF TIMOTHY EYMAN

11         I, Timothy D. Eyman, duly sworn upon oath under penalty of perjury under

12 the laws of the State of Washington, deposes and says as follows:

13         I am the debtor in the above captioned case, I am over the age of 18, and I

14 am competent to testify regarding the matters herein. All of the facts contained in

15 the above motion are true and correct to the best of my knowledge and belief, and

16 said facts are incorporated into this Declaration by reference. Attached hereto is a

17 true and correct copy of the Purchase and Sale Agreement I entered into with my

18 estranged spouse, Karen Eyman, for the sale of my interest in our marital home,

19 located at 11913 59th Avenue West, Mukilteo, Snohomish Co., Washington.

20         DATED this 29th day of September, 2020.

21                                             /s/ Timothy D. Eyman   email 9/29/20 10:52 pm


22                                             Timothy D. Eyman, Debtor

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 7

 8                  IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9
     In re:                                       No. 18-14536-MLB
10
     TIMOTHY DONALD EYMAN,                        ORDER APPROVING SALE OF
11                                                DEBTOR’S INTEREST IN 11913 59TH
                           Debtor.                AVENUE WEST, MUKILTEO, WA
12

13            THIS MATTER came before the Court on the Motion of the Debtor, Timothy

14 D. Eyman, to sell his and the estate’s interest in his marital home, located at 11913

15 59th Avenue West, Mukilteo, Snohomish Co., Washington, to Karen J. Eyman. Mr.

16 Eyman was represented by his attorney, Larry B. Feinstein of Vortman & Feinstein.

17 The State of Washington was represented by Senior Counsel Susan Edison of the

18 Attorney General’s Office. Based upon the filed and records herein, including the

19 Motion, Declaration(s), and responses thereto, and good cause having been

20 shown, it is hereby

21            ORDERED that the Debtor may sell his and the estate’s interest in the real

22 property commonly known as 11913 59th Avenue West, Mukilteo, Snohomish Co.,

23
      Order                                Page 1 of 4                VORTMAN & FEINSTEIN
24                                                                  2033 6TH AVENUE, SUITE 251
                                                                        SEATTLE, WA 98121
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                                                                        (206) 386-5355 (fax)


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 1 Washington, to Karen J. Eyman, as her sole and separate property, for

 2 $372,500.00 under the terms of the Purchase and Sale Agreement filed herein as

 3 an exhibit to ECF # _____, under Section 363(b) of the Bankruptcy Code, free and

 4 clear of all liens, encumbrances, and claims of the estate.

 5         Within 5 business days of entry of this signed Order, the Debtor shall cause

 6 to be filed with the Snohomish County Recorder’s Office a true and correct copy

 7 of this Order approving the sale. Upon recording of this Order, the “Notice of Lis

 8 Pendens [RCW 4.28.325]; Bankruptcy Case; and Restriction on Transfer”

 9 recorded in Snohomish County under Recording Document #202004090645, be

10 and is hereby released.

11         The escrow / closing / title agent is hereby authorized and directed to

12 disburse the proceeds of the sale as follows:

13         1.     Payment of valid liens and encumbrances attached to the home, if

14 any;

15         2.     Payment of other normal closing costs related to the transaction,

16 including title reports, commissions, and taxes, if any; and

17         3.     Payment of all remaining net proceeds to the Debtor. Within 5

18 business days of the receipt of the funds, or at the direction of the Debtor to escrow

19 such that the following may be paid directly from escrow, Debtor and/or escrow

20 shall be required to disburse funds sufficient to pay the following Chapter 11

21 administrative claims in full:

22                a. The remaining balance of the post-petition administrative claims

23
      Order                              Page 2 of 4                VORTMAN & FEINSTEIN
24                                                                2033 6TH AVENUE, SUITE 251
                                                                      SEATTLE, WA 98121
                                                                         (206) 223-9595
                                                                      (206) 386-5355 (fax)


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 1                  of the State of Washington, allowed under Article III, Section 3.02

 2                  of the confirmed Plan, as may be finally liquidated and

 3                  determined by the Thurston County Superior Court in State of

 4                  Washington v. Tim Eyman, et al. (Thurston County Superior

 5                  Court case no. 17-2-01546-34).         The State of Washington,

 6                  through its bankruptcy counsel, and the Debtor, through its

 7                  counsel, may agree to the current balance due under Section

 8                  3.02 of the Plan for disbursement purposes herein without

 9                  requiring an actual order from the Superior Court to be provided

10                  to the Debtor or escrow, for this Order’s purposes;

11               b. The administrative claims of Vortman & Feinstein (Larry B.

12                  Feinstein) for attorney’s fees in the approximate amount of

13                  $10,536.15; and

14               c. The remaining balance of the allowed administrative claim of

15                  Goodstein Law Group, PLLC (Richard Sanders and Seth

16                  Goodstein) in the approximate amount of $45,445.29.

17               d. UST quarterly fees for 4th quarter 2020 in the amount of $325.00

18        Federal Rule of Bankruptcy Procedure 6004(h) is waived. This Order shall

19 be effective immediately upon entry.

20        The Clerk is hereby directed to re-close this case without further order of

21 this Court.

22                                 /// End of Order ///

23
      Order                            Page 3 of 4                VORTMAN & FEINSTEIN
24                                                              2033 6TH AVENUE, SUITE 251
                                                                    SEATTLE, WA 98121
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 1

 2

 3 Presented by:

 4 /s/ Larry B. Feinstein
   Larry B. Feinstein WSBA # 6074
 5 Attorney for Debtor

 6
     APPROVED FOR ENTRY
 7
   ROBERT W. FERGUSON
 8 Attorney General

 9
   SUSAN M. EDISON, WSBA No. 18293
   DINA YUNKER FRANK, WSBA No. 16889
10
      Assistant Attorneys General
   ERIC S. NEWMAN, WSBA No. 31521
11    Chief Litigation Counsel – Antitrust Division
   Attorneys for the State of Washington
12

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24                                                               2033 6TH AVENUE, SUITE 251
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Tim and Karen Eyman
July 29, 2020




11913 59th Ave W, Mukilteo, WA 98275




Information used to prepare this report has been obtained from multiple sources, including: MLS records of pending listings and recent sales;
public records; and the current owner(s) of the subject property. The broker preparing this report has not independently verified the accuracy or
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completeness of any information obtained from sources reasonably believed by the broker to be reliable.                Pg. 21 of 39
                                                                                                                                     Agent Profile



                                                                                                              OFFICE PHONE
                                        (425) 356-9107
                                             MOBILE PHONE

                                                                                                        (425) 672-1382
                                                                                                              FAX
                                        (425) 776-9580 x460


                                        lurrutia@windermere.com
                                             EMAIL


                                        http://www.lousellsrealestate.com
                                             WEBSITE


                                        18811 28th Ave W, Suite J
                                             Lynnwood, WA 98036
                                             ADDRESS


Lou Urrutia

Broker
MS, NC, PD, RIS,
RLS, WFT



 LOU KNOWS SNOHOMISH COUNTY

 If you are thinking about buying or selling a home in Snohomish County, please contact me! With over
 20years of living in the Mukilteo and Edmonds area as well as selling real estate in greater Snohomish county,
 I am up-to-date on current market trends and confident that I can provide you with excellent service.


 MAXIMIZE SELLER PROCEEDS

 As my client, you will enjoy the benefit of my negotiating expertise to solicit for you, the highest value for your
 home, the most qualified buyer, and terms which represent your best interests. Extensive marketing presence
 is the key element that sets us in a class of our own. From taking quality, professional photographs, to
 creating custom brochures, postcards and print ads, we strive to enhance the ability to sell your property at
 the highest possible price for current market conditions.


 FINDING THE BEST HOME AT THE BEST VALUE

 Finding a home that meets your needs, a neighborhood that makes you feel at home, a community with all
 the amenities that are important to you,involves negotiating one of your largest investments. My knowledge of
 the area and the current market, enables me to negotiate the best price and terms on your behalf.




                         All information provided is deemed reliable but is not guaranteed and should be independently verified.


                                                                                                              Lou Urrutia | lurrutia@windermere.com
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                                                                                                                                   Agent Profile


CUSTOMER SERVICE EXCELLENCE

My team and I are committed to great customer service and recognize it’s importance for a smooth transition.
On-going communication and consistent follow-through are key ingredients for a successful closing, and
ultimately client satisfaction. I, along with a team of coordinator’s, and buyer’s agents carefully track each
transaction from beginning to end, keeping all parties informed along the way. No fancy slogans, just hard
work.




                       All information provided is deemed reliable but is not guaranteed and should be independently verified.


                                                                                                            Lou Urrutia | lurrutia@windermere.com
      Case 18-14536-MLB              Doc 302            Filed 10/01/20                Ent. 10/01/20 12:44:31                     Pg. 23 of 39
                                                                                                                          Property Summary


                               ★ 11913 59th Ave W, Mukilteo, WA 98275


                                       Beds           Bath           SQFT            Living Area Lot Size
                                       3              3              3,020           3,020 SqFt 8,712 SqFt


Listing Detail
Living Area 3,020 SqFt                           County Snohomish                                                Subdivision One Club House Lane

Property Type Single-Family                      MLS Area 740                                                    School District Mukilteo

Year Built 1998                                  Community Mukilteo


Features
Bathroom Details Full Bath 3




                         All information provided is deemed reliable but is not guaranteed and should be independently verified.


                                                                                                              Lou Urrutia | lurrutia@windermere.com
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                                                                                                         Listing Location Map




                                                                                  1 $1.1M




                                               7 $915K




                                                                          3 5$990K
                                                                               $924K




                                                                                 6 $920K




                                                                         4 $926K
                                                                             2 $1.09M




                                                              Active Properties                Pending Properties           Sold Properties



            All information provided is deemed reliable but is not guaranteed and should be independently verified.


                                                                                                 Lou Urrutia | lurrutia@windermere.com
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                                                                                                                 Listing Location Map

        Address                        Price                   Beds                Baths                Days                  SQFT      $/SQFT
★       11913 59th Ave W
                                                               3                    3                   –                     3,020
        Mukilteo, WA 98275
1.      5717 95th Place SW
                                       $1,100,000              4                    3                   20                    4,428     $248
        Mukilteo, WA 98275
2.      12412 Double Eagle Dr
                                       $1,095,000              4                    3                   4                     3,804     $288
        Mukilteo, WA 98275
3.      5905 116th Ct SW
                                       $990,000                3                    3                   37                    3,028     $327
        Mukilteo, WA 98275
4.      12416 Ironwood Lane
                                       $925,885                3                    3                   7                     2,948     $314
        Mukilteo, WA 98275
5.      11609 59th Ave W
                                       $924,000                3                    3                   22                    2,868     $322
        Mukilteo, WA 98275
6.      11925 59th Ave W
                                       $920,000                4                    3                   20                    3,022     $304
        Mukilteo, WA 98275
7.      6619 Waterton Cir
                                       $915,000                3                    4                   75                    3,133     $292
        Mukilteo, WA 98275




                    All information provided is deemed reliable but is not guaranteed and should be independently verified.


                                                                                                         Lou Urrutia | lurrutia@windermere.com
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                                                                                                             Side by Side Comparisons

                  ★


                  11913 59th Ave W        5717 95th Place SW         12412 Double Eagle Dr      5905 116th Ct SW           12416 Ironwood Lane   11609 59th Ave W
                  Mukilteo, WA 98275      Mukilteo, WA 98275         Mukilteo, WA 98275         Mukilteo, WA 98275         Mukilteo, WA 98275    Mukilteo, WA 98275

        Status -                          Pending                    Sold                       Sold                       Sold                  Sold

        MLS # -                           1619182                    1518424                    1486982                    1521098               1485823

 Property Type Single-Family              Residential                Residential                Residential                Residential           Residential

    Bedrooms 3                            4                          4                          3                          3                     3

    Bathrooms 3.00                        3.00                       3.00                       3.00                       3.00                  3.00

     Bathroom        - Full Bath 3            - Full Bath 2              - Full Bath 2              - Full Bath 2              - Full Bath 2         - Full Bath 2
        Details                               - 1/2 Bath 1               - 1/2 Bath 1               - 3/4 Bath 1               - 1/2 Bath 1          - 1/2 Bath 1

           Sqft 3,020.0                   4,428                      3,804                      3,028                      2,948                 2,868

      Lot SqFt 8,712 SqFt                 12,632 SqFt                10,454 SqFt                9,583 SqFt                 8,712 SqFt            9,148 SqFt

     Year Built 1998                      1991                       1992                       1995                       1998                  1994

Days on Market -                          20                         4                          37                         7                     22

      List Price -                        $1,100,000                 $1,095,000                 $1,038,000                 $915,885              $924,000

     Sold Date -                          -                          10/18/2019                 10/23/2019                 10/11/2019            09/16/2019

    HOA Dues -                            $20/Monthly                $34                        $30                        $34                   $30

   Original List
                 -                        $1,100,000                 $1,095,000                 $1,038,000                 $915,885              $924,000
          Price

  Pre-Adjusted
                -                         $1,100,000                 $1,095,000                 $990,000                   $925,885              $924,000
          Price

     Sold Price -                         $0                         $1,095,000                 $990,000                   $925,885              $924,000

% Of List Price -                         -                          100%                       95%                        101%                  100%

        $/SqFt -                          $248                       $288                       $327                       $314                  $322

    $/Lot SqFt -                          $87                        $105                       $103                       $106                  $101

   Tax Amount -                           $8,691                     $8,404                     $5,913                     $5,883                $6,536

      Tax Year -                          2019                       2019                       2018                       2019                  2019

      Fireplace -                         3                          2                          2                          2                     2

     Basement -                           None                       None                       None                       None                  None

                                          3, Garage-                 3, Garage-                 3, Garage-                 3, Garage-            3, Garage-
       Garage -
                                          Attached                   Attached                   Attached                   Attached              Attached

                                                                     Forced Air, Heat
                                          Forced Air,                                                                      Forced Air,           Forced Air,
      Heat/AC -                                                      Pump, Central    Forced Air
                                          Central A/C                                                                      Central A/C           Central A/C
                                                                     A/C

                                                                                                                                                 Electric, Natural
           Fuel -                         Natural Gas                Natural Gas                Natural Gas                Natural Gas
                                                                                                                                                 Gas

                                                                                                                                                 Composition,
          Roof -                          Composition                Composition                Composition                Composition
                                                                                                                                                 See Remarks




                              All information provided is deemed reliable but is not guaranteed and should be independently verified.


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                                                                                                  Side by Side Comparisons

       ★


       11913 59th Ave W        5717 95th Place SW         12412 Double Eagle Dr      5905 116th Ct SW           12416 Ironwood Lane   11609 59th Ave W
       Mukilteo, WA 98275      Mukilteo, WA 98275         Mukilteo, WA 98275         Mukilteo, WA 98275         Mukilteo, WA 98275    Mukilteo, WA 98275

                               Territorial,
                                                          Golf Course,               Sound,                                           Golf Course,
 View -                        Sound,                                                                           -
                                                          Territorial                Mountain                                         Partial, Sound
                               Mountain

                               Snohomish                  Snohomish                  Snohomish                  Snohomish             Snohomish
County Snohomish
                               County                     County                     County                     County                County




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                                                                                                             Side by Side Comparisons

                  ★


                  11913 59th Ave W        11925 59th Ave W           6619 Waterton Cir
                  Mukilteo, WA 98275      Mukilteo, WA 98275         Mukilteo, WA 98275

        Status -                          Sold                       Active

        MLS # -                           1497085                    1600838

 Property Type Single-Family              Residential                Residential

    Bedrooms 3                            4                          3

    Bathrooms 3.00                        3.00                       4.00

     Bathroom        - Full Bath 3            - Full Bath 2              - Full Bath 3
        Details                               - 1/2 Bath 1               - 1/2 Bath 1

           Sqft 3,020.0                   3,022                      3,133

      Lot SqFt 8,712 SqFt                 9,148 SqFt                 3,920 SqFt

     Year Built 1998                      1998                       2006

Days on Market -                          20                         75

      List Price -                        $949,900                   $915,000

     Sold Date -                          10/11/2019                 -

    HOA Dues -                            $30                        $147/Monthly

   Original List
                 -                        $949,900                   $935,000
          Price

  Pre-Adjusted
                -                         $920,000                   $915,000
          Price

     Sold Price -                         $920,000                   -

% Of List Price -                         97%                        -

        $/SqFt -                          $304                       $292

    $/Lot SqFt -                          $101                       $233

   Tax Amount -                           $6,441                     $6,743

      Tax Year -                          2019                       2020

      Fireplace -                         2                          1

     Basement -                           -                          Fully Finished

                                          3, Garage-                 2, Garage-
       Garage -
                                          Attached                   Attached

                                          Forced Air,
      Heat/AC -                                                      Forced Air
                                          Central A/C

                                          Electric, Natural Electric, Natural
           Fuel -
                                          Gas               Gas

          Roof -                          Cedar Shake                Composition




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                                                                                                  Side by Side Comparisons

       ★


       11913 59th Ave W        11925 59th Ave W           6619 Waterton Cir
       Mukilteo, WA 98275      Mukilteo, WA 98275         Mukilteo, WA 98275

                               Golf Course,
                                                          Mountain,
                               Mountain,
 View -                                                   Sound,
                               Partial,
                                                          Territorial
                               Territorial

                               Snohomish                  Snohomish
County Snohomish
                               County                     County




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                                                                                                                             Status Comparisons

                                                                                Lot                                           $/Lot
                                          Bed         Bath        SqFt          SqFt         List Price         $/SqFt        SqFt        Sale Price   Adj Price

     ★   Subject Property                 3           3           3,020         8,712…                          -             -          -             -



                                                                                Lot                                           $/Lot
     Active Properties                    Bed         Bath        SqFt          SqFt         List Price         $/SqFt        SqFt        Sale Price   Adj Price
7.       6619 Waterton Cir
         Mukilteo, WA 98275               3           4           3,133         3,920… $915,000                 $292          $233       $0            -



                                                                                Lot                                           $/Lot
     Pending Properties                   Bed         Bath        SqFt          SqFt         List Price         $/SqFt        SqFt        Sale Price   Adj Price
1.       5717 95th Place SW
         Mukilteo, WA 98275               4           3           4,428         12,63… $1,100,000 $248                        $87        $0            -



                                                                                Lot                                           $/Lot
     Sold Properties                      Bed         Bath        SqFt          SqFt         List Price         $/SqFt        SqFt        Sale Price   Adj Price
2.       12412 Double Eagle Dr
         Mukilteo, WA 98275               4           3           3,804         10,45… $1,095,000 $288                        $105       $1,095,000 -

3.       5905 116th Ct SW
         Mukilteo, WA 98275               3           3           3,028         9,583… $1,038,000 $327                        $103       $990,000      -

4.       12416 Ironwood Lane
         Mukilteo, WA 98275               3           3           2,948         8,712… $915,885                 $314          $106       $925,885      -

5.       11609 59th Ave W
         Mukilteo, WA 98275               3           3           2,868         9,148… $924,000                 $322          $101       $924,000      -

6.       11925 59th Ave W
         Mukilteo, WA 98275               4           3           3,022         9,148… $949,900                 $304          $101       $920,000      -




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                                                                                                                                 Listing Averages


Active Properties                           Property Pricing

Home Averages (1 property)
                                                      Avg                                                                                $915,000
Beds      Baths      SqFt                            Med                                                                                 $915,000
3.0       4.00       3,133

$/SqFt    Lot SqFt $/Lot SqFt                         Min                                                                                $915,000
$292      3,920 SqFt $233

Days                                                 Max                                                                                 $915,000
75


Pending Properties

Home Averages (1 property)
                                                      Avg                                                                              $1,100,000
Beds      Baths      SqFt                            Med                                                                               $1,100,000
4.0       3.00       4,428

$/SqFt    Lot SqFt   $/Lot SqFt                       Min                                                                              $1,100,000
$248      12,632     $87
          SqFt                                       Max                                                                               $1,100,000
Days
20


Sold Properties

Home Averages (5 properties)
                                                      Avg                                                                          $970,977
Beds      Baths      SqFt                            Med                                                                          $925,885
3.4       3.00       3,134

$/SqFt    Lot SqFt $/Lot SqFt                         Min                                                                         $920,000
$311      9,409 SqFt $103

Days                                                 Max                                                                               $1,095,000
18




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                                                                                                               Price & Days on Market

Price
                                      1

          2




                                                                            3




              4
                                           5
                                      6

                                                                                                                                                  7




        Days on Market                      Active Properties                Pending Properties                  Sold Properties        Other Properties




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                                                                                                          Price & Days on Market

        Address                        Price                   Beds                Baths                Days                  SQFT      $/SQFT
★       11913 59th Ave W
                                                               3                    3                   –                     3,020
        Mukilteo, WA 98275
1.      5717 95th Place SW
                                       $1,100,000              4                    3                   20                    4,428     $248
        Mukilteo, WA 98275
2.      12412 Double Eagle Dr
                                       $1,095,000              4                    3                   4                     3,804     $288
        Mukilteo, WA 98275
3.      5905 116th Ct SW
                                       $990,000                3                    3                   37                    3,028     $327
        Mukilteo, WA 98275
4.      12416 Ironwood Lane
                                       $925,885                3                    3                   7                     2,948     $314
        Mukilteo, WA 98275
5.      11609 59th Ave W
                                       $924,000                3                    3                   22                    2,868     $322
        Mukilteo, WA 98275
6.      11925 59th Ave W
                                       $920,000                4                    3                   20                    3,022     $304
        Mukilteo, WA 98275
7.      6619 Waterton Cir
                                       $915,000                3                    4                   75                    3,133     $292
        Mukilteo, WA 98275




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                                                                                                                                       Price & Size

Price
                                                                                                                                                   1

                                                                                                  2




                      3




               4
          5
                      6

                               7




        Square Feet                          Active Properties                Pending Properties                  Sold Properties        Other Properties




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                                                                                                                                      Price & Size

        Address                        Price                   Beds                Baths                Days                  SQFT       $/SQFT
★       11913 59th Ave W
                                                               3                    3                   –                     3,020
        Mukilteo, WA 98275
1.      5717 95th Place SW
                                       $1,100,000              4                    3                   20                    4,428      $248
        Mukilteo, WA 98275
2.      12412 Double Eagle Dr
                                       $1,095,000              4                    3                   4                     3,804      $288
        Mukilteo, WA 98275
3.      5905 116th Ct SW
                                       $990,000                3                    3                   37                    3,028      $327
        Mukilteo, WA 98275
4.      12416 Ironwood Lane
                                       $925,885                3                    3                   7                     2,948      $314
        Mukilteo, WA 98275
5.      11609 59th Ave W
                                       $924,000                3                    3                   22                    2,868      $322
        Mukilteo, WA 98275
6.      11925 59th Ave W
                                       $920,000                4                    3                   20                    3,022      $304
        Mukilteo, WA 98275
7.      6619 Waterton Cir
                                       $915,000                3                    4                   75                    3,133      $292
        Mukilteo, WA 98275




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                                                                                                                            Estimate Comparison

                                                                                     AVG ZESTIMATE ®

                                                                                      5% Over
                                                                                            ▼


       Under                                                                  Accurate                                                               Over



  Sold Listings


  2. 12412 Double Eagle Dr                                                                                                                        $52,500 Over
  Sold Price                                                                                                                                        $1,095,000
               ®                                                                                                                                    $1,147,500
  Zestimate


  3. 5905 116th Ct SW                                                                                                                             $49,743 Over
  Sold Price                                                                                                                                         $990,000
               ®                                                                                                                                    $1,039,743
  Zestimate


  4. 12416 Ironwood Lane                                                                                                                          $48,397 Over
  Sold Price                                                                                                                                         $925,885
               ®                                                                                                                                     $974,282
  Zestimate


  5. 11609 59th Ave W                                                                                                                             $52,230 Over
  Sold Price                                                                                                                                         $924,000
               ®                                                                                                                                     $976,230
  Zestimate


  6. 11925 59th Ave W                                                                                                                             $45,518 Over
  Sold Price                                                                                                                                         $920,000
               ®                                                                                                                                     $965,518
  Zestimate




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                                                                                                                                   Pricing Analysis




                                                                                      Approximate Market Value

                                                                                $975,000 - $1,025,000



 ★   11913 59th Ave W, Mukilteo, WA 98275




Price Based on Average Sales

Average Price of Sold Comparable Properties                                                                                                    $970,977

Price Based on Square Footage

Average $/SqFt of Sold Comparable Properties                                                                                                       $311.10
Square Footage of Subject Property                                                                                                                   3,020
Price based on square footage of Subject Property                                                                                              $939,513




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Label Matrix for local noticing                      U.S. Bankruptcy Court                                Internal Revenue Service
0981-2                                               700 Stewart St, Room 6301                            PO Box 7346
Case 18-14536-MLB                                    Seattle, WA 98101-4441                               Philadelphia, PA 19101-7346
Western District of Washington
Seattle
Wed Sep 30 10:21:05 PDT 2020
Klinedinst PC                                        Klinedinst, PC                                       State of Washington Attorney
c/o Daniel Agle, Esq.                                701 Fifth Avenue, Suite 1220                         General’s Office
501 W Broadway, 6th Floor                            Seattle, WA 98104-7007                               Attn: Linda Dalton
San Diego, CA 92101-3536                                                                                  PO Box 40100
                                                                                                          Olympia, WA 98504-0100

United States Trustee                                Gretchen Sand                                        Kathryn Scordato
700 Stewart St Ste 5103                              PO Box 6503                                          Vortman & Feinstein
Seattle, WA 98101-4438                               Kennewick, WA 99336-0627                             929 108th Ave NE, Ste 1200
                                                                                                          Bellevue, WA 98004-4787


Larry B. Feinstein                                   PC Klinedinst                                        Thomas D. Neeleman
929 108th Ave. N.E.                                  Klinedinst PC                                        Neeleman Law Group
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                                                     Seattle, WA 98104-7007

Timothy Donald Eyman
11913 59th Ave W
Mukilteo, WA 98275-5569




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